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 ~AO 245B      (Rev. 06/05) Judgment in a Criminal Case
                                                                  881
               Sheet I



                                          UNITED STATES DISTRICT COURT
                        EASTERN                                   District of                      NEW YORK
          UNITED STATES OF AMERlCA                                        JUDGMENT IN A CRIMINAL CASE
                     V.

                      DARYLGRlCE                                          Case Number:                      CR-07-516-07
                                                                          USMNumber:                       71997-053

                                                                          RlCHARD HALEY, ESQ.
THE DEFENDANT:                                                            Defendant's Attorney


X pleaded guilty to count(s)        A LESSER INCLUDED OFFENSE OF COUNT ONE (1) OF THE FIRST SUPERSEDING
                                    INDICTMENT

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                         Offense Ended               Count
21 U.S.C. 846, 841               CONSPIRACY TO DISTRIBUTE AND POSSESS WITH
(b)(l)(B)(iii), and              INTENT TO DISTRIBUTE 5 GRAMS OR MORE OF
(b)(1 )(B)(ii)(II)               COCAINE BASE AND 500 GRAMS OR MORE OF COCAINE                             MAY 2007             ONE (1)

       The defendant is sentenced as provided in pages 2 through          _~6__         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
                ALL OPEN COUNTS AND
   Count(s)                                                is     X are dismissed on the motion of the United States.
                UNDERLYING INDICTMENT

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenuant must notify the court and United States attorney of material chan es in econonuc eire            nees.

                                                                          FEBR
                                                                          Date of)




                                                                          SANDRAJ. FEUERSTEIN, US.DJ.
                                                                          Name and Title of Judge


                                                                          FEBRUARY 11,2009
                                                                          Date
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AO 2458    (Rev. 06/05) Judgment in Criminal Case
           Sheet 2 - Imprisonment

                                                                                                    Judgment -   Page _ ...2 ,--_ of   6
DEFENDANT:                    DARYL GRICE
CASE NUMBER:                  CR-07-516-07


                                                          IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total tenn of:


 SEVENTY- EIGHT (78) MONTHS



      o The court makes the following recommendations to the Bureau of Prisons:



      X The defendant is remanded to the custody of the United States Marshal.

      o The defendant shall surrender to the United States Marshal for this district:
          o at                               0 a.rn.             p.rn.    on

          o as notified by the United States Marshal.
          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o before 2 p.m. on
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.

                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL
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AO 245B       (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      3     of         6
DEFENDANT:                     DARYL GRICE
CASE NUMBER:                   CR-07-516-07
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tenn of :


FOUR (4) YEARS



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully pC!ssess a controlled s~b~tance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall subnut to one drug test WIthin 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

X        The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

o The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any 2ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11 )      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or ,Personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3A - Supervised Release
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DEFENDANT:                 DARYL GRICE
CASE NUMBER:               CR-07-516-07

                                     ADDITIONAL SUPERVISED RELEASE TERMS

1. The defendant shall participate in an outpatient and/or inpatient drug treatment or detoxification program
approved by the Probation Department. The defendant shall pay the costs of such treatment/detoxification to the
degree he is reasonably able, and shall cooperate in securing any applicable third-party payment. The defendant
shall disclose all financial information and documents to the Probatlon Department to assess his ability to pay. The
defendant shall not consume any alcohol or other intoxicants during or after treatment/detoxification, unless granted
a prescription by a licensed physician and proof of the same is provided to the Probation Department. The
defendant shall submit to testing during and after treatment to ensure abstinence from drugs and alcohol.
2. Imposition of a search condition.
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           Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment -    Page .:.5    _   of      6
DEFENDANT:                         DARYL GRICE
CASE NUMBER:                       CR-07-516-07
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                              Fine                                Restitution
TOTALS             $         100.00                                          $ 0                                 $ 0


 o The determination of restitution is deferred until ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned 'payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

 Narne of Payee                                 Total Loss*                             Restitution Ordered                    Priority or Percentage




 TOTALS                                $                         ....;;.0_        $                           ...;;0_



 o    Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 maybe subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

 o    The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

           the interest requirement is waived for the         o fine                  restitution.

      o the interest requirement for the o fine                0 restitution is modified as follows:


 '" Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
 Septemoer 13, 1994, but before April 23, 1996.
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           Sheet 6 - Schedule of Payments

                                                                                                              Judgment -   Page   6   of -,,-6   _
DEFENDANT:                  DARYL GRICE
CASE NUMBER:                CR-07-516-07

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     X    Lump sum payment of $         ~lO.; .O; ,:.,=,O.; .O_ _~_   due immediately, balance due

           D     not later than                                            , or
           D     in accordance           D C,         D D,             D     E, or    0 Fbelow; or
 B    D Payment to begin immediately (may be combined with                           DC,      D D, or   D F below); or
 C    D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    0    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    D    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 imprisonment. All crIminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 o The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied' in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
